                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )             No. 3:18-CR-089
                                                  )
 DAKOTA I. GARMANY                                )


                             MEMORANDUM AND ORDER

        Before the Court is pro se petitioner Dakota I. Garmany’s motion for

 reconsideration [Doc. 87]. On August 21, 2020, the Honorable Pamela L. Reeves denied

 Garmany’s motion for compassionate release pursuant to 18 U.S.C. § 3582 [Doc. 86].

 Petitioner now asks the Court to reconsider its denial.

        The Federal Rules of Criminal Procedure do not provide for motions to reconsider,

 but courts typically evaluate such motions “under the same standards applicable to a civil

 motion to alter or amend judgment pursuant to Fed. R. Civ. P. 59(e).” United States v.

 Jarnigan, 2008 WL 5248172 at *2 (E.D.Tenn. Dec. 17, 2008) (collecting cases). Federal

 Rule of Civil Procedure 59(e) permits the filing of a motion to alter or amend a judgment

 if there was (1) a clear error of law; (2) newly discovered evidence; (3) an intervening

 change in controlling law; or (4) a need to prevent manifest injustice. Am. Civil Liberties

 Union of Ky v. McCreary Cnty, Ky., 607 F.3d 439, 450 (6th Cir. 2010). But the Sixth Circuit

 has repeatedly held that Rule 59(e) does not permit the parties to re-argue a case.

 Schellenberg v. Twp. Of Bingham, 436 Fed. Appx. 587, 598 (6th Cir. 2011). Here, Garmany

 has not presented any basis upon which this Court may reconsider its denial of her motion.




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 She does not identify any error of law, newly discovered evidence, intervening change in

 controlling law, or manifest injustice that would warrant reconsideration of Judge Reeves’

 order denying compassionate release.      The arguments presented by petitioner were

 considered and rejected in Judge Reeves’ Memorandum and Order denying her motion for

 relief. See U.S. ex rel. Am. Textile Mfrs. Inst. Inc. v. Limited, Inc., 179 F.R.D. 541 n. 9

 (S.D.Ohio 1998) (If the movant simply regurgitates arguments previously presented then

 the movant’s proper recourse is an appeal to the circuit court). Because Garmany has not

 demonstrated a sufficient basis for the Court to rule differently, her motion for

 reconsideration [Doc. 87] is DENIED.

              IT IS SO ORDERED.

                                                        ENTER:



                                                                s/ Leon Jordan
                                                          United States District Judge




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